         Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.1 Page 1 of 13
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                     for the                                                     NOY 15 2019
                                                         Southern District of California
                                                                                                                    CU:::Ri< US uiS fHIC l COURT
                                                                                                                 SOUTHERN DISl HIC I 01- CALIFO RNIP
              In the Matter of the Search of                            )                                        BY                           DEPUT't
         (Briefly describe the property to be searched                  )                                       L                 --   •
          or identify the person by name and address)                   )           Case No.
                   Samsung S 10 Cellphone
                   IMEI : 357295100156772
                                                                        )
                                                                        )
                                                                        )
                                                                                                  19MJ5110
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A-2 .
located in the             Southern                District of              California            , there is now concealed (identify the
p erson or describe the property to be seized) :

 See Attachment B-2.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
           Code Section                                                          Offense Description
       21 U.S.C. 952, 960 and 963                   Importation of Controlled Substances and conspiracy to do the same.



          The application is based on these facts:
        See attached affidavit.

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days:                                        ~   ) is requested
             under 18 U.S .C. § 3103a, the basis of which is set forth on the attached s                            :::.--




                                                                                               Whitney Faber, HSI S/A
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date     105'/2.917                                                         .Jt)k;;;;
City and state: San Diego, CA                                                       Andrew G. Schopler, U.S. Magistrate Judge
                                                                                                 Printed name and title
            Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.2 Page 2 of 13




 1                                            AFFIDAVIT
 2              I, Whitney Faber, Special Agent with the United States Department of Homeland
 3 II Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
 4 II Investigations (HSI), being duly sworn, hereby state as follows:
 5                                         INTRODUCTION
 6              1.    This affidavit supports an application for a warrant to search the following
 7 II electronic devices (collectively the "Target Devices"):
 8
                             a. Samsung S 10 Cellphone
 9                              IMEI:357295100717037
                                (Target Device 1)
10
11                           b. Samsung S 10 Cellphone
                                IMEI:357295100156772
12
                                (Target Device 2)
13
          and seize evidence of crimes, specifically, violations of Title 21, United States Code,
1411
          Section(s) 952,960, and 963, as more particularly described in Attachments B-1 and B-
15 11
      2. This search supports an investigation and prosecution of DALILA CERVANTES-
1611
17 II CASILLAS ("CERVANTES) and CHARLES JOSEPH SANCHEZ ("SANCHEZ") for

     11
          the crimes mentioned above. A factual explanation supporting probable cause follows.
18
                2.    Both of the Target Devices were seized from CERVANTES on October
19
      30, 2019, at the time she and SANCHEZ were arrested at the Otay Mesa, California
2011 ·
      Port of Entry ("POE"), as they attempted to smuggle methamphetamine into the United
21 11
      States. The Target Devices are currently in the possession of Homeland Security
     11
22
      Investigations at 2255 Niels Bohr Court, San Diego, CA 92154.
23   II


             3.     Based upon my experience and training, and all the facts and opinions set
24
   II forth in this Affidavit, there is probable cause to believe that a search of the Target
25
   II Devices as described in Attachments A-1 and A-2 will produce evidence of the
26
27 aforementioned crimes, as described in Attachments B-1 and B-2.
     II                                                  ,


             4.     The information contained in this affidavit is based upon my experience
28
          and training, consultation with other federal, state, and local law enforcement agents.
                                                     1
          Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.3 Page 3 of 13




 1 II The evidence and information contained herein was developed from interviews and my
 2 review of documents and evidence related to this case. Because this affidavit is made
 3 for the limited purpose of obtaining a search warrant for the Target Devices, it does not
 411 contain all the information known by me or other federal agents regarding this
 5 II investigation, but only contains those facts believed to be necessary to establish
 6 II probable cause for the requested warrant.
 7                              EXPERIENCE AND TRAINING
 8           5.    I am a law enforcement officer of the United States within the meaning of
 9 II Title 18, United States Code, Section 2510(7), who is empowered by law to conduct
1O II investigations of, and to make arrests for, offenses enumerated in Title 18, United States
1111 Code, Section 2516. I am also a federal law enforcement officer within the meaning of
12 II Rule 41(a)(2)(C) of the Federal Rules of Criminal Procedure. I am authorized under
13 II Rule 41(a) to make applications for search and seizure warrants and to serve arrest
14 II warrants. I am authorized to investigate violations of laws of the United States and to
15 II execute warrants issued under the authority of the United States.
16 II        6.    I am a Special Agent (SA) with ICE-HSI and have been so employed since
17 II September 2018. I am currently assigned to the Deputy Special Agent in Charge, San
18 II Ysidro Office, Contraband Smuggling Group 5, and my duties include investigating the
19 II trafficking of illicit controlled substances; and the importation and distribution of illegal
20 II substances. I have training and experience in multiple investigative areas, to include
21 II conducting investigations and making arrests based on violations of Title 21 , United
22 II States Code Sections 952, 960, and 963.
23   11      7.    I have had approximately 26 weeks of intensive training at the Federal Law
24 II Enforcement Training Center at Glynco, Georgia. These 26 weeks were comprised of
25 II approximately 12 weeks of the basic criminal investigator training program and
26 II approximately 14 weeks of HSI Special Agent Training. I have received training in
27 II identifying various controlled substances and conducting Title 21 controlled substances
28 II investigations.

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        Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.4 Page 4 of 13




 1 II      8.     Prior to my position as an HSI Special Agent, I was employed as a United
 211 States Border Patrol (USBP) Agent from March 2003 until September 2018. As a USBP
 3 II Agent, I conducted many criminal investigations involving violations of federal _and
 4 II state laws including, but not limited to, alien smuggling, narcotics smuggling,
 5 II kidnapping, extortion and organized criminal activity.
 6 II      9.     I have personally participated in and conducted investigations of violations
 7 II of various State and Federal criminal laws, including those related to narcotics
 8 II violations. I have arrested or participated in the arrest of persons for violations of the
 9 II Controlled Substances Act. In these cases, I have conducted interviews with the arrested
10 II persons and their associates. I have conducted surveillance of narcotics smugglers as
11 II they conduct their smuggling activity while crossing the border from Mexico into the
12 II United States. Through these investigative activities, I have gained a working
13 II knowledge and insight into the typical activity of narcotics smugglers, and the structure
14 II of their narcotics smuggling networks.
15 II      10.    Through the course of my training, investigations, and conversations with
16 II other law enforcement personnel, I have learned that it is a common practice for
17 II narcotics smugglers to work in concert with other individuals and to do so by utilizing
18 II cellular telephones, pagers, and portable radios to maintain communications with co-
19 II conspirators in order to further their criminal activities. Conspiracies involved in the
20 II smuggling and trafficking of narcotics generate many types of evidence including, but
21 II not limited to, cellular phone-related evidence such as voice-mail messages referring to
22 II the arrangements of travel and payment, names, photographs, text messaging, and
23 II phone numbers of co-conspirators. Typically, drug traffickers are in telephonic contact
24 II with co-conspirators immediately prior to and following their illicit transactions to
25 II negotiate prices and quantities, coordinate meeting times and locations, and then to
26 11 discuss future transactions or future payments if the narcotics were "fronted" (delivered
2711 without being paid for in advance).
28

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          Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.5 Page 5 of 13




 1           11.   Based upon my training and experience as a Special Agent, and
 2 II consultations with law enforcement officers experienced in narcotics trafficking
 3 II investigations, and all the facts and opinions set forth in this affidavit, I submit the
 4 II following:
 5 II              a. Drug traffickers will use cellular/mobile telephones because they are
                      mC?bile and they have instant access to telephone calls, text, web, and
 6 II                 v01ce messages.
                   b. Drug traffickers will use cellular/mobile telephones because they are
 711                  able to activ_ely moni~or the progress of their illegal cargo while the
                      conveyance 1s m transit.
 811
                   c. Drug traffickers and their accomplices will use cellular/mobile
 911                  telephones because they can easily arrange and/or determine what time
                      their illegal cargo will arrive at predetermined locations.
10 II              d. Dru~raffickers will use cellular/mobile telephones to direct drivers to
                      sync onize an exact drop off and/or pick up time of their illegal cargo.
11 11
                   e. Drug traffickers will use cellular/mobile telephones to notify or warn
1211                  their accomplices of law enforcement activity to include the presence
                      and posture of marked and unmarked units, as well as the operational
13   11
                      status of checkpoints and border crossings.
                   f. Drug traffickers and their co-constirators often use cellular/mobile
1411                  telephones to communicate with oad drivers who transport their
                      narcotics and/or drug proceeds.
15 11
                   g. The use of cellular telephones by conspirators or drug traffickers tends
16 11                 to generate evidence that is stored on tlie cellular telephones, including,
                      but not limited to emails, text messages, photographs, audio files ,
17 11                 videos, call logs, address book entries, IP addresses, social network
                      data, and locat10n data.
18   II      12.   Based upon my training and experience as a Special Agent, and
19 consultations with law enforcement officers experienced in narcotics trafficking
20 investigations, and all the facts and opinions set forth in this affidavit, I have learned
21 that cellular/mobile telephones can and often do contain electronic records, phone logs
22 and contacts, voice and text communications, and data such as emails, text messages,
23 chats and chat logs from various third-party applications, photographs, audio files,
24 videos, and location data. This information can be stored within disks, memory cards,
25 deleted data, remnant data, slack space, and temporary or permanent files contained on
26 or in the cellular/mobile telephone. Specifically, I have learned based upon my training,
27 education, and experience investigating these conspiracies that searches of
28 cellular/mobile telephones yields evidence:

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       Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.6 Page 6 of 13



                   a. tending to indicate efforts to import methamphetamine, or some other
 1                    federally controlled substances from Mexico mto the United States;
 2                 b. tending to identify accounts, facilities, storage devices, and/or services-
                      such as email addresses, IP addresses, and phone numbers-used to
 3                    facilitate the importation of methamphetamine, or some other federally
                      controlled substances from Mexico mto the United States;
 4                 c. tending to identify co-conspirators, criminal associates, or others
                      involved in importation of methamphetamine, or some other federally
 5                    controlled substances from Mexico into the United States;
 6                 d. tending to identify travel to or presence at locations involved in the
                      importation of methamphetamine, or some other federally controlled
 7                    substances from Mexico into the United States, such as stash houses,
                      load houses, or delivery points;
 8                 e. tending to identify the user of, or persons with control over or access
                      to, the Target Device(s); and/or
 9
                   f. tending to place in context, identify the creator or recipient of, or
10                    establish the time of creation or receipt of communications, records, or
                      data involved in the activities described above.
11         13.     Subscriber Identity Module (SIM) Cards, also known as subscriber identity
12 modules, are smart cards that store data for GSM cellular telephone subscribers. Such
13 data includes user identity, location and phone number, network authorization data,
14 personal security keys, contact lists and stored text messages. Some of the evidence
15 generated by a smuggler's use of a cellular telephone would likely be stored on any SIM
16 Card that has been utilized in connection with that telephone.
17         14.     Based upon my experience investigating drug smuggling, my training, and
18 my consultation with other investigators who have experience investigating drug
19 smuggling in near the border, I understand that drug smugglers will seek to smuggle
2 0 drugs from Mexico to the United States by hiding the drugs in hidden compartments of
21   cars, and in non-factory compartments (i.e., compartments that the manufacturer did not
22 design for ordinary use). Smugglers will then drive north from Mexico and seek to pass
23 through POEs with the drugs undetected. I am also aware that such individuals will
24 sometimes try to generate a history of crossings to show that driving through a POE is
25   ordinary behavior for them. When they arrive in the United States, smugglers will take
26 the drugs to a discreet location to transfer them to other people involved in the
27 distribution chain, who can then send the drugs to other locations for downstream
28 distribution.

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          Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.7 Page 7 of 13




 1 II        15.   Furthermore, based on my training and experience, and conversations with
 2 II other law enforcement officers who investigate drug smuggling and trafficking, I have
 3 II learned that drug conspiracies often require detailed and intricate planning to
 4 II successfully evade detection. Consequently, drug conspiracies often involve planning
 5 II and coordination for several months-this planning often occurs through mobile
 6 II telephones. Additionally, based on my training and experience, and conversations with
 7 II other law enforcement officers who investigate drug smuggling and trafficking, I have
 8 II learned that coconspirators are often unaware when a fellow coconspirator has been
 9 II arrested and will attempt to communicate with that coconspirator via mobile telephone
1O II after his or her arrest to determine the whereabouts of drugs that are being transported.
11   11                  FACTS SUPPORTING PROBABLE CAUSE
12           16.   On October 30, 2019, at approximately 7:40 AM, CERVANTES, a United
13 II States Citizen, SANCHEZ, a United States Citizen, and J.S., a minor and United States
14 II Citizen, applied for entry into the United States from Mexico through the Otay Mesa,
15 II California Port of Entry (OTM POE) in vehicle lane 8 (eight). CERVANTES was the
16 II driver and registered owner of a 2003 Ford F-150 ("the vehicle") bearing California
17 II license plates 8D88935. SANCHEZ and J.S. were passengers of the vehicle.
18 II        17.   According to a report by Customs and Border Protection Officer (CBPO)
19 II J. Gutierrez, on October 30, 2019, CBPO J. Gutierrez was performing pre-primary
20 II operations when he encountered a Ford F-150 bearing California license plates
21 II 8D88935 ("the vehicle") driven by CERVANTES in pre-primary late 8 (eight). CBPO
22 II Gutierrez inspected the underside of the vehicle and noted the spare tire looked overly
23 II·large and very clean. CBPO Gutierrez asked CERVANTES for her entry document.
2411 CBPO Gutierrez noted that CERVANTES was shaking when she presented her United
25 II States Passport Card. CBPO Gutierrez noted that CERVANTES was talking rapidly
26 II and appeared nervous during questioning. CERVANTES stated she was on her way to
2711 Chula Vista, CA. CBPO Gutierrez received two negative Customs declarations from
28

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        Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.8 Page 8 of 13




 1 CERVANTES. CBPO Gutierrez called for the assistance from a Canine Enforcement
 2 Officer (CEO).
 3 II       18.     According to a report by CEO E. Roman, CEO Roman and her Human &
 411 Narcotics Detection Dog (HNDD) Tango were conducting pre-primary operations
 5 II when their assistance was requested by CBPO J. Gutierrez. CBPO Gutierrez requested
 611 a screening of the vehicle. CEO Roman and Tango conducted a screening of the vehicle.
 7 II CEO Roman received an alert from Tango to the spare tire attached to the vehicle.
 811 CERVANTES, SANCHEZ, and J.S. were escorted to the secondary lot for further
 9 11 inspection.
10          19.     According to a report by CBPO I. Perez, CBPO I. Perez was assigned to
11 II the OTM POE Vehicle Secondary Lot as a Z-Portal Non-Intrusive Inspection system
1211 operator. CBPO Perez screened the vehicle with the Z-Portal. CBPO Perez examined
13 II the Z-Portal images of the vehicle and detected anomalies in spare tire.
1411        20.     According to a report by CBPO M. Saunders, CBPO M. Saunders
15 II conducted a secondary screening of the vehicle. CBPO Saunders noted that there was
16 II access to the spare tire from the exterior of the vehicle. CBPO Saunders noted that the
17 II spare tire was new and not the same type of tire installed on the wheels of the vehicle.
18 II CBPO Saunders found the tool for lowering the tire mounted inside the engine
19 II compartment. CBPO Saunders noted that the tool could only be accessed by releasing
20 the hood latch from inside the vehicle. CBPO Saunders noticed the dust on the tool was
21 clean on the upper part of the handle. Upon inspecting the tire, CBPO Saunders
22 II discovered 80 (eighty) packages hidden inside the spare tire of the vehicle, with an
23 II approximate weight of 47.04 kilograms. A sample of the substance contained within the
24 II packages field tested positive for the characteristics of methamphetamine.
25 II CERVANTES, SANCHEZ, and J.S. were placed under arrest at approximately 10:05
26 II AM for further investigation. CBPO Saunders later discovered a wireless GPS tracker
27 device with a SIM card located in the driver-side door storage compartment. CBPO
28 Saunders removed the SIM card from the device.

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          Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.9 Page 9 of 13




 1 II         21.   I was notified of the event, responded to the San Ysidro POE, and
 211 subsequently placed CERVANTES, SANCHEZ, and J.S. under arrest. I further seized
 3 II the vehicle, the methamphetamine packages, miscellaneous documents and the Target
 411 Devices. Following her arrest, CERVANTES acknowledged that the Target Devices
 5 II were hers, and after being advised of her Miranda rights she provided passcodes for
 611 both devices. After providing these passcodes, CERVANTES withdrew her consent to
 7 II search the phones, and neither phone was searched. In a post-Miranda statement,
 8 II CERVANTES denied knowledge of the drugs in her spare tire.
 911          22.   Accordingly, based upon my experience and training, consultation with
1O II other law enforcement officers experienced in drug trafficking investigations, and all
11 II the facts and opinions set forth in this affidavit, there is probable cause to believe that
12 II information relevant to the drug smuggling and trafficking activities of CERVANTES
13 II and SANCHEZ, such as telephone numbers, made and received calls, contact names,
14 II electronic mail (e-mail) addresses, appointment dates, messages, pictures and other
15 II digital information are stored in the memory of the Target Devices. For the reasons set
16 II forth above, I request permission to search the Target Devices for items listed in
17 II Attachment B for the time period from August 2, 2019, up to and including October 30,
18 112019.
19                                      METHODOLOGY
20            23.   It is not possible to determine, merely by knowing the cellular/mobile
21 II telephone's make, model and/or serial number, the nature and types of services to which
22 the device is subscribed and the nature of the data stored on the device. Cellular/mobile
23      devices today can be simple cellular telephones and text message devices, can include
24 11 cameras, can serve as personal digital assistants and have functions such as calendars
25 II and full address books and can be mini-computers allowing for electronic mail services,
26 II web services and rudimentary word processing. An increasing number of
27 II cellular/mobile service providers now allow for their subscribers to access their device
28 II over the internet and remotely destroy all of the data contained on the device. For that

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        Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.10 Page 10 of 13




 1 II reason, the device may only be powered in a secure environment or, if possible, started
 2 II in "flight mode" which disables access to the network. Unlike typical computers, many
 3 II cellular/mobile telephones do not have hard drives or hard drive equivalents and store
 411 information in volatile memory within the device or in memory cards inserted into the
 5 II device. Current technology provides some solutions for acquiring some of the data
 6 II stored in some cellular/mobile telephone models using forensic hardware and software.
 7 II Even if some of the stored information on the device may be acquired forensically, not
 8 II all of the data subject to seizure may be so acquired. For devices that are not subject to
 9 II forensic data acquisition or that have potentially relevant data stored that is not subject
10 II to such acquisition, the examiner must inspect the device manually and record the
11 II process and the results using digital photography. This process is time and labor
12 II intensive and may take weeks or longer.
13 II       24.   Following the issuance of this warrant, I will collect the subject
1411 cellular/mobile telephones and subject them to analysis. All forensic analysis of the
15 II data contained within the telephones and memory cards will employ search protocols
16 directed exclusively to the identification and extraction of data within the scope of this
17 warrant.
18          25.   Based on the foregoing, identifying and extracting data subject to seizure
19 II pursuant to this warrant may require a range of data analysis techniques, including
20 II manual review, and, consequently, may take weeks or months. The personnel
21 II conducting the identification and extraction of data will complete the analysis within
22 II ninety (90) days, absent further application to this court.
23 II                                     CONCLUSION
24          26.   Based on all the facts and circumstances described above, there is probable
25 II cause to conclude that CERVANTES used the Target Devices to facilitate violations
26 II of Title 21, United States Code, Section(s) 952, 960, and 963.
27 II       27.   Because the Target Devices were promptly seized during the investigation
28 II of CERVANTES and SANCHEZ's trafficking activities and has been securely stored

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        Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.11 Page 11 of 13




 1 II since that time, there is probable cause to believe that evidence of illegal activities
 211 committed by CERVANTES and SANCHEZ continues to exist on the Target Devices.
 3 II As stated above, I believe that the date range for this search is from August 2, 2019, up
 4 II to and including October 30, 2019.
 5          28.   WHEREFORE, I request that the court issue a warrant authorizing law
 6 II enforcement agents and/or other federal and state law enforcement officers to search
 7 II the items described in Attachment A, and to seize items listed in Attachment B, using
 8 II the methodology described above.
 9
1O II I swear the foregoing is true and correct to the best of my know     e and belief.
11
12
13
                                                 ydef-Faber
                                             Special Agent
14                                           Homeland Security Investigations
15 II                                        Department of Homeland Security

16 II Subscribed and sworn to before me this /   5-!',. day of November, 2019.
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 Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.12 Page 12 of 13




                               ATTACHMENT A-2



                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                         Samsung S 10 Cellphone
                         IMEI:357295100156772
                         (Target Device 2)


Target Device 2 is currently in the possession of Homeland Security Investigations at
2255 Niels Bohr Court, San Diego, CA 92154.
Case 3:19-mj-05110-AGS Document 1 Filed 11/15/19 PageID.13 Page 13 of 13



                                ATTACHMENT B-2

                               ITEMS TO BE SEIZED

       Authorization to search the cellular/mobile telephone described in Attachment
A-2 includes the search of disks, memory cards, deleted data, remnant data, slack space,
and temporary or permanent files contained on or in the cellular/mobile telephone for
evidence described below. The seizure and search of the cellular/mobile telephone shall
follow the search methodology described in the attached affidavit submitted in support
of the warrant.

       The evidence to be seized from the cellular/mobile telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of August 2, 2019, up to and including October 30, 2019:

  g. tending to indicate efforts to import metha~phetamine, or some other federally
     controlled substances from Mexico into the United States;
  h. tending to identify accounts, facilities, storage devices, and/or services-such as
     email addresses, IP addresses, and phone numbers-used to facilitate the
     importation of methal!lphetamine, or some other federally controlled substances
     from Mexico into the United States;
  1. tending to identify co-conspirators, criminal associates, or others involved in
     importation of methal!lphetamine, or some other federally controlled substances
     from Mexico into the United States;
  J. tending to identify travel to or presence at locations involved in the importation
     of methamphetamine, or some other federally controlled substances from Mexico
     into the United States, such as stash houses, load houses, or delivery points;
  k. tending to identify the user of, or persons with control over or access to, Target
     Device 2; and/or
  1. tending to place in context, identify the creator or recipient of, or establish the
     time of creation or receipt of communications, records, or data involved in the
     activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952,960,
and 963.
